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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
IN RE: FEMA TRAILER MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION SECTION “N-5"
JUDGE ENGELHARDT
MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:

Lyndon Wright v. Forest River, Inc., et al.

Case No. 09-2977 (ED. La.) and

James H. Aldridge and Angela L. Aldridge,

et al vs. Gulfstream Coach, Inc., et al,

No. 07-9228 (as further referred to as Elisha Dubuclet,
individually and on behalf of minor children,

Timia Dubuclet and Timethy Dubuclet, Jr.., et al

vs. Fleetwood Enterprises, Inc., et al)

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MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
DEFENDANT’S MEDICAL EXPERT DR. UH. JAMES WEDNER

MAY IT PLEASE THE COURT:

Plaintiffs, Lyndon T. Wright (“Lyndon”) and Elisha Dubluclet, individually and on
behalf of her minor children Timia Dubuclet and Timothy Dubuclet, Jr. “Dubuclet”)
(collectively hereinafter “Plaintiffs”), respectfully submit this Memorandum in Support of their
Motion to Strike Detendant’s Medical Expert, Dr. H. James Wedner (“Dr. Wedner”), for
practicing medicine in the State of Louisiana without a license.

On or about June 1, 2009, Plaintiffs underwent a medical exam consisting of two phases,

a pulmonary function study and a standard office physical exam. Both exams were performed by

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Dr.Wedner, an allergistimmunologist from Washington University School of Medicine in St.
Louis, Missouri. The examinations were performed by Dr. Wedner in Louisiana even though he
was not licensed to practice medicine in the state of Louisiana. As such, the Plaintiffs would
respectfully request that Dr. Wedner be prohibited from offering any opinions relating to the
plaintiffs. This motion is offered pursuant to La. Rev. Sat. Ann. § 37:1284 (2009), which reads
in pertinent part:

Unlicensed physicians shall not be permitted to collect any fees or charges for services

rendered, or be allowed to testify as a medical expert in any court, or execute public or

legal as a physician, or hold any medical office, or be recognized by the state or parish
or municipal corporation as a physician, or be entitled to enjoy any of the privileges,
rights, or exemptions granted to physicians by the laws of this state.

Since Dr. Wedner is from Missouri and did not obtain a license to practice medicine in
the state of Louisiana, any testimony he may offer regarding his evaluation and diagnosis of the
Plaintiffs is prohibited by Louisiana law.

Further, La. Rev. Stat. § 37:1271(b) states that, “No person shall practice or attempt to
practice medicine across state lines without first complying with the provisions of this Part and
without being a holder of either an unrestricted license to practice medicine in Louisiana or a
telemedicine license entitling him to practice medicine pursuant to R.S. 37:1276.1” Dr. Wedner
did not obtain a license to practice medicine in Louisiana, nor did he get a special dispensation to
perform the medical exam. Also, La. Rev. Stat. § 37:1262 (3) defines practicing medicine as
“{b]eing engaged in the business of, or the actual engagement in, the diagnosing, treating,
curing, or relieving of any bodily or mental disease, condition, infirmity, deformity, defect,
ailment, or injury im any human being....” Dr. Wedner, when he participated and performed the

medical examinations of the Plaintiffs was engaged in the practice of medicine which is strictly

prohibited under Louisiana law.
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Dr. Wedner admitted under oath, during his deposition in the Alexander trial (Docket No.
09-2892) that he was not licensed to practice medicine in the state of Louisiana, and he that he
and he alone performed the examination in Metairie, Louisiana:

Mr. Reich:Did you do the examination yourself or were you simply an observer?

Dr. Wedner: No, no, I did it all by myself.

Mr. Reich:Now are you a physician that is licensed in Louisiana?

Dr. Wedner: No.

Mr. Reich: Did you get a special dispensation to do the examination?

Dr. Wedner: No.

Mr. Reich: Where are you licensed to practice medicine?

Dr. Wedner: Missouri.

Mr. Reich: Only Missouri?

Dr. Wedner: Correct.

(Dr. Wedner’s Depostion, p. 98, Exhibit A).

Dr. Wedner is aware that his actions constitute the practice of medicine and further that
he is aware that in order to practice medicine across state lines, he would need to obtain a special
dispensation to perform a medical exam.

The only cases in which physicians not licensed in Louisiana have been permitted to
testify about their diagnosis or treatment of a patient have been those in which neither the Doctor
nor the patient being examined was a resident of Louisiana, see Brown v. Yellow Cab Co. of
Shreveport, 94 So.2d 573(La. App. 2d Cir. 1957). The testimony of an unlicensed physician is
also permissible in Court if the diagnosis or treatment of the patient took place in a state where
the physician was licensed, see Boyd v. Allstate Ins. Co., 640 So. 2d 603, 93-999 pp. 6-7 (La.
App. 3 Cir. 5/11/94). However, both of these cases are distinguishable from the instant case
because the Plaintiffs are residents of Louisiana and the exam took place in Louisiana and was

performed by a doctor who admitted, under oath, that he was not licensed to practice medicine in

Louisiana.
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The law is well settled in Louisiana that any physician who practices medicine in
Louisiana without being licensed here or without obtaining a telemedicine license, is not allowed
to practice medicine or testify as an expert witness. Dr. Wedner admitted in his deposition that
he had not received special licensing from Louisiana to perform the examinations of the
Plaintiffs. This admission implies he was aware he was practicing medicine across state lines and
that he would need to obtain special licensing to do so. Therefore, any expert testimony he may
offer must be stricken and should not be used at trial.

WHEREFORE, Plaintiffs Lyndon Wright and Elisha Dubuclet, individually and on
behalf of her minor children Timia Dubuclet and Timothy Dubuclet, Jr., pray that this honorable
Court grant his Motion to Strike the Defendant’s medical expert for the reasons set forth in this

Memorandum.

RESPECTFULLY SUBMITTED:

FRANK J. D’AMICO, JR.,
APLC

BY:s/Frank J. D’ Amico, Jr.

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CERTIFICATE OF SERVICE

[hereby certify that on October 1, 2009, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to all
counsel of record who are CM/ECF participants. I further certify that I mailed the foregoing
document and the notice of electronic filing by first-class mail to all counsel of record who are
non-CM/ECE participants.

3/Frank J. D’ Amico
FRANK J. D?AMICO, #17519

